 

o e

UNITED STATES DISTRICT COURT
EASTERN DISTRICT GF NEW YORK

 
  

Clifford Steward, individually and on behalf of all similarly fe bs
situated persons, —_

 

Plaintiff,

- apainst -

Compiaint ard Deniand tor
Jury Trial

The City of New York, The New York City Beard of
Education, Harold 0. Levy, itdividually and in his official
capacity as Chancellor of the New York City Board of
Education, Felix 2. Vazquez, individually and in his official
capacity as Community Superintendent of District 32 of the
New Vork City Board of Education, Mildred L. Boyce, The
United Federation of Teachers, and Pace University,

LEVY MA

Re se ss er

Defendants,

Plaintiff, by his attorney, Michael G. O'Neill, states for his complaint as

follows:

Nature of the Action, Jurisdiction and Venue

1. This is an action arising out of the deprivation under color of statute,
ordinance, regulation, custom or usage of tights, privileges, and immunities secured to
plaintif! by the Constitution and Laws of the United States af America and the violation
of the laws and statules of the State of New York, out of the breach of the plaintiff's
collective bargaining representative's duty to provide fair representation to the plaintiff,
and out of various breaches of New York state law by the plaintiff's former employer

and Pace University.

 

 

 
 

o ®

2. This Court has jurisdiction over the subject matter of this lawsuit by
virtue of 29 ULS.C. §185, 42 ULS.C. $1983, 28 U.S.C, $1331, 28 U.S.C. §1343 and 28

U.S.C. $1367.

3. Venue is properly laid in the Kastern District of New York because
some or ail of the defendants arc residents of the Eastern District and because most or

all of the events giving rise to the claims set forth herein took place within said District.

The Parties
4 Plaintiff is an individual and resides in the State of New York,
5. Detendant New York Ciiy Board of Education {the “Board”) is 4

municipal corporation organized under the laws of the State of New York. The
principal purpose of the Board of Education is to operate the New York City public

school system.

6. Defendant City of New York (the “Caty’’) 18 a municipal corporation

organized under ihe laws of the Slate of New York.

7. The United Federation of Teachers (“GET”) is a labor union. The UFT
is the sole bargaining ageni for most of the hon-supervisory educators who work in the

New York City public schools.

B. Pace University is a private university with its main campus In the City

of New York,

 

 
 

 

e ®

9, During all relevant times, Tarold 0. Levy (“Levy”) was the Chancellor

of New York City Public Schools. Levy is sued in his individual and official capacity.

10, During all relevant times, Felix E. Vazquez (“Vazquez”} was the
Superintendent of Disirict 32 of the New York City Public School sysicin. Wazquez is

sued in his tndividual and official capacity.

11. During all relevant times, Mildred L. Boyce (“Boyce”) was the
Principal of the Philippa Schuyler Middle School for the Gifted and Talented in

Brooklyn, New York. Boyce is sued in her individual and official capacity,

Fact Allegations Common To All Causes Of Action

lz. Tn about July, 2000, the New York State Department of Education
promulgated alternative teacher certification requirements, codified at Section §0-5.13
of Title 8 of the Official Compilation of Codes, Rules and Regulations of the State of
New York (8 NYCRR 80-5,.13). These new tegulations provided an allemative route to
permanent teacher certification, establishing a “Transitional B certificate,” principally
to streamline the process by which talenied and educated individuals from other walks

of life could change carecrs and become teachers,

13, At about the same time, the City and the Board established g program
calied the NYC Teaching Fellows. The Teaching Fellows Program provided a wide
array of incentives to attract individuals to obtain Transitional B certificates and teach
in the New York City public school system. Airiong other things, successful candidates

reccived the initia] education and training required for the Transitional B certificate at

3

 

 
 

o ®

no cost, and they received a tax free stipend during that training. Atthe conclusion of
the training, they were hired by the Board at full teacher’s pay. The Teaching Fellaws
Program would alse pay for the full cost of obtaining a Masiers Degree over the ensuing

two years, which was necessary for permanent cerlification,

14. Upon information and belief, the altemative teacher certification and
NYC Teaching Fellows program were cstablished in the face of a shortage of teachers
and in recognition of the fact that the existing system was not working and that many

students were being failed by public school systems in the State of New York,

15. On May 23, 2001 plaintiff was accepted into the NYC Teaching

Fellows program.

16. Plaintiff satisfied his initial training and testing requirements and was
hired by the Beard as a teacher, Plaintiff received cinployment as a teacher in District

32 in Brooklyn.

17. As part of ihe Teaching Fellows program and as required by New
York State Department of Education regulations, plaintiff was enrolled in Pace’s Master
of Scicnce for Teachers program in Secondary Education for the Fall 2001 semester.
Lander the Teaching Fellows program, plaintiff's tuition was to be totally subsidized by

the City or the Board,

18. Plaintiff began teaching at the Philippa Schuyler Middle School (the

“Schoo!”) for the Gifted and Talented in Brooklyn, New York in September, 2001.

19, Unknown to plaintiff (because neither the UFT, The Board or the City

ever informed plaintiff}, the New York State Department of Education regulations
4

 

 
 

» eS

required the Board, Pace and the plaintiff to enter into ceriain written agreements
concerning plaintiff’s teaching load and the mentoring, planning, observation,

advisement, and evaluation of plaintiff's teaching,

20. In addition, the New York State Department of liducation regulations
tequited that plaintiff receive daily mentoring by an experienced teacher in the area of
plaintiff's proposed certification for the first eight wecks of his cmployment as a teacher
and that his teaching be mentored for at least the remainder of his first year in the NYC

Teaching Fellows program. This mentoring never took place.

21, Plaintiff was a candidate for a certificate in social studics. Under
New York State Department of Education regulations, plaintiff should have been fiven
a teaching load within his area of proposed certification. Instead, plaintiff was assigned
to a class in computer education‘research, and another in writing aided by computer
research, Not only did plaintiff not receive ihe mentoring required by the State, he was

not even given a cuuriculum to use in teaching these classes.

22, Unknown to plaintiff (bccause neither the UL, The Board or the Ctiy
ever informed plaintiff), under New York State Department of Education regulations
the tintc, manner, frequency, eic. of plaintiff's observations were to have been agreed
upon between Pace, ihe Board and plaintiff, An observation consists of an educated
pedagogue, typically a principal or assistant principal, sitting in on a class and

observing the teaching methods of the teacher.

23. This did not happen. Instead, plaintiff received unplanned,

uncoordinated and antagonistic reviews by School personnel twice in October, 200] and

5

 

 
 

 

again in December, 2001, These observations should never have taken place. Plaintiff

should have received observations in accordance with New York State Depariment of

Education reculstions,

24, In November, 2001, an issue arose concerning a grade of 70 that
plamtiff had given to a student. The student’s mother complained to the School, and the
School criticized plaintiff's substantiation of that grade. This would never have
happened had plaintiff received the mentoring and other support required by the New

York State Department of Education regulations.

25. On about January 16, 2002, plaintiff was called inio a “di sciplinary
conference” for an incident that allegedly occurred on December 20, 2001, According
to information given to plaintiff, a student complained that plaintiff had pulled the chair
out from under him as he was sitting down, causing him te fall to the ground, The
School characterized the incident as one of corporeal punishnent. Such an incident

never happened, as revealed by the School's own investigation of the incident,

26, On January 18, 2002, Boyce terminated plaintiff's employment,
effective January 28, 2002. The reasons given by Boyce were the observations of
plaintiff's teaching, the incident conceming the grade, and the so called corporeal

punishment.

27, The UFT was during all relevant times plaintiff's collective
bargaining representative, By virtue of this relationship, it owed plaintiff a duty to

fairly represent his interests concermug his employment by the Board,

6

 

 
 

o e

28, During all relevant times, the UFT and the Board were parties to a
collective bargaining agreement (the “CBA™) which purported to set forth the terms and

conditions of employment for all teachers in the New York City public school system,

25. After being terminated, plaintiff timely filed a grievance with the

UFT seeking reinstatement.

30. The OFT processed plaintiff's prievance, which was denied through

the third step, which is the last level before arbitration.

31, In about May, 2002, the UT presented to plaintiff a proposed

settlement of his gricvance,
32. Plaintiff declined the settlement on the terms presented to him.

33, Thereafter, in about June, 2002, the UFT notified plaintiff that it
would not take his grievance to arbitration, Plaintiff appealed that decision in

accordance with the UFT’s intemal By-Laws.

34. Tn January, 2003, the UFT reversed its position and notified plaintiff

that it would take his grievance to atbitration.

35. Plaintiff met with his union representatives numierous times in 2003
11 order to prepare for his arbitration, In the course of these meetings, plaintiff began to
question his UJ'T representatives concerning the applicability of the provisions of the

CBA to his employment as a NYC Teaching Fellow. Plaintiff was repeatedly advised

that this was the UFT’s concer, not his.

 

 
 

 

e e
36. Plaintiffs arbitration was repeatedly rescheduled during 2003. As
time went along, plaintiff became increasingly concerned about the applicability of the
CBA to his pesilion as an NYC Teaching Fellows. This concern arose from the fact
that the only possible remedy (and the remedy being sought by the UIT) available to a

non-tenured ieacher under the CBA was to be reinstated for the remainder of the school

year in which the temnination had taken place.

37, This was an unacceptable and inapplicable remedy for an NYC
Teaching Fellow, since the essence of the program was a three year commitment
culminating in a Masters Degree and a permanent teacher's certificaie, Not only was
this irreconcilable with the NYC Teaching Fellows program, but it faifed io return
plaintiff to the same position he had been in before his termination, Thus, under the
arbitration proceedings proposed by the UFT, there was no make whole remedy for ihe

plaintiff.

38. Plaintiff expressed his concer to hig Union representative, in
particular the concern that voluntary participation in the arbitration process might
prejudice his rights to seek relief elsewhere. Plaintiff's Union representative assured

plaintiff that such would not be the case, but he refused to put his assurance in writing.

39. ‘Therefore, plaintiff announced ihat, before beginning the arbitration
hearing, he would read a statement questioning the jurisdiction of the arbitration
proceeding and agree to participate without prejudice to his ability to taisc the issue

later. When plaintiff made his intentions known, however, the UFT initially refused to

 

 
 

 

o e

 

proceed with the hearing if plaintiff insisted on reading his statement. This ook place

on Novernber 14, 2003,

40, The arbitration hearing was eventuall ¥ rescheduled for December,
2003. By that time plaintiff had reached the conclusion that the UF was not
representing his intcrests adequately or in good faith, that the CBA provisions relied on
by the UFT did not apply to his employment as an NYC. ‘Leaching Fellow, and that the
arbitration proceeding that the Board and the Ur proposed with respect to plaintiff

could not make plaintiff whole.

41, since the UFT had failed to address thosc concerns of plaintiff, he
announced his intention not to participate in that proceeding. Lipon information and

belief, the arbitration proceeding was not held.

Class Allegations

42. Plaintiff seeks to assert claim one herein as a class action under lied,
C. Proc. R. 23(b){2), in that the UFT has acted and refuses to acl on Brounds generally
applicable to all NYC Teaching Fellows, thereby making appropriate final injunctive

relief or corresponding declaratory rclief with respect to the class as a whole,

43, PlaintifFalso seeks to assert claim one hercin as a class action under
Fed. C. Proc. R. 23(b)(3), in that questions of law or feet coinmon ia the members of the
class predominate over any questions affecting only individual members, and a class
action is superior io other available methods for the fair and ciftcient adjudication of the

COnOVGrSy,

 
 

 

 

44, The class of individuals that plaintiff proposes 1o represent consists of

all NYC Teaching Fellows employed by the Board and represented by the UIT since

the inception of the NYC Teaching Fellows program to the present,

45, Claim ane is properly maintainable as 4 class action because the
number of individuals in plaintiff's proposed class is so numerous that joinder of all
parties is tmpracticable. Accordiag to the N¥C Teaching Fellows program website,
there are over Five Thousand NYC. Teaching Fellows currently isaching in the New

York City Schools.

dé. There are questions of law and fact common to all members of the
class. As set forth in greater detail herein, plaintiff alleges that the ULT failed to
represent NYC Teaching Fellows as a class by willfully failing to negotiate terms and

conditions of their employment by the Board.

47, The first claim herein of the plaintiff ig typical of the claim of the

proposed class. Indeed, it is identical.

48. Plaintii? will fairly and adequately protect the interests of the

proposed class.

Allegations of Breach of Duty of Fair Representation Against the UF'T

First Claim — Breach of Duty of Fair Representation by Eaitnre to Negotiate
Terms and Conditions of Employment

49, Article One of the CBA provided that: “During the term of this

agreement should the Board employ a new title or category of employees having 4

It

 

 

 
 

 

& e

community of interest with employces in the existing bargaining unit described herein,
employces in such new title or category shall be included within the existing bargaining
unit, and upon request of the union the parties shall negotiate the tems and conditions
of employment for such new title or category of employces; bul nothing contained
herein shall be consirued to require re-negotialion of terms and conditions of
employment applicable to enlployecs in the existing bargaining unit as a resuit of the

Board’s redesignation of the title or category of employees in the unit.”

50. The CBA coniained provisions telating to the employment of non-
tenured teachers having temporary, provisional and permanent licenses issued by the
New York State Depariment of Education. These such liconse categories are all
specifically defined licenses under New York State Department of Education
regulations, Plaintiff did not hold any such license and therefore the provisions of the

CBA relating to such teachers did not apply to plaintr¥.

SI. The CBA did not contain any provisions rclating to teachers holding

Transitional B licenses or teachers under the NYC Teaching Fellows program.

52. When the New York State Department of Education instituted the
Transitional B license in 2000, and when the City and Board instituted the NYC
Teaching Fellows program shortly thercatter, it constituted a “new title or category of
employees having a community of interest with employces in ihe existing bargaining
unit described herein” within the meaning of Article One of the CBA as quated above,
Asa resuli, the UFT should have negotiated terms and conditions of employment with

respect to teachers holding Transitional B licenses.

11

 

 
 

@ e

33, Upon information and belief, the failure of the UFT to negotiate terms
and conditions of employment for NYC Teaching Fellows as a class was an intentional
decision based on its animus toward the NYC Teaching Fellows program and the
unpopulariiy of the program by the vast majority of the membership of the UFT. Upon
information and belicf, fi would have been politically unacceptable for the UFT
leadership to negotiate terms and conditions af employment for NYC Teaching Fellows
consistent wiih their rights under New York State Department of Education regulations
and the NYC Teaching Fellows program, and therefore the UFT intentionally chose ta

abandon the rights of the NYC Teaching Fellows and administer their employmenis as

ifthey were classified as CPT or PPT under the CBA.

54, The UFT’s failure to negotiate terms and conditions of employment
with respect to teachers holding Transitional B licenses constituted a breach of its duty
of fair representation to plaintiff, indeed, to all teachers employed by the Board under

the NYC Teaching Fellows program,

Second Claim — Breach of Duty of Fair Representation by Failure to Assert
Plaintiff's Rights.

55. section 80-5. 13{a)(2)(iii) of the New York State Department of
Education regulations establishes that a prerequisite to the issuance of a Transitional B
license is the “commitment [tom a school or school district of employment as a full-
time teacher with the school or school districi in the area of the certificate sought for at
least three school years, which shall include at least one year of menioring as prescribed

in section $2,21(b)(3)xvii} of this Tittle.”

12

 

 
 

 

© e
56. {n plaintiff's case, this means that the Board made a legally required
and binding commitment to cinploy plaintiff for at least three years. Plaintiff was
unaware of this fact, however, because the City or the Board, as part of its NYC
Teaching Fellows program undertook to process all the paperwork needed by the New

York Staie Department of Education regulations for the issuance of the Transitional B

ecriificate,

37. Upon information and helicf, then, the City or the Board provided on
behalf of plaintiff documentation to the New York State Department of Education to the
effect that the Board was legally committed to employing plaintill for at icast three

years, The City or the Board never informed plaintit of this fact, however,

38, It is inconceivable, however, ihat the UFT, a massive union the
primary purpose of which was to protect the rights of teachers employed by the Beard,
was unaware of the provisions of the New York State Department of Education

regulations relating to Transitional B licenses.

59, Ifthe UFT was actually aware of the provisions of the New York
State Department of Education regulations relating to Transitional B licenses, then it
was under a duty to advise the plaintiff that he had a legitimate expectation, if nota

legally enforceable right, to continued employment by the Board for at least three years.

60. Ifthe FT was actually aware of the provisions of the New York
State Deparimeni of Education regulations relating to Transitional [2 livenses, then it
was grossly and recklessly negligent in its failure to educate itself with respect io those

regulatious. In short, if the UFT was not actually aware of the provisions of the New

i3

 

 

 
 

2

 

 

@ ®

York State Department of Education regulations relating to Transitional B licenses, then
tt was only as a result of its willful j ghorance and the LFT should be held to the same

standard as actual knowledge,

61. At all times plaintiff was justified in relying on the LIFT to be familiar
with the New York State Department of Education regulations and to provide plaintiff

with reasonable advise and representation based on those resulations,

62. Instead of informing plaintiff that he had a legilimate expectation, if
nol a legally enforceable right, to continued employment by the Board for at least three
years, however, the agents of the UFT responsible for the handling of plaintiff's
grievance consistently took the position that plaintiff should be classified as a “CPT” or
“PPT” under the CBA, which were categories of leachers who had no expectation of
contiucd employment beyond a single school year and who could, under some

circumstauces, be terminated Virtually at will.

63. Upon information and belief, the policy of the U1'T not to enforce the
specific tights of NYC Teaching i'cllows as 2 class was an intentional decision based on
its animus toward the NYC Teaching Fellows program and the unpopularity of the
program by the vast majority of the membership of the UT. Upon information and
belief, it would have been politically impossible for the UPT te enforce the nights of
NYC Teaching Fellows, and therefore the UFT intentionally chose to ignore those
nights and represent NYC Teaching Fellows as if they were classified as CPT or PPT

under the CBA,

14

 

 

 
 

Allegations of Constitutional Violations Against State Defendants

Third Claim — Violation of 42 U.S.C, §1983 by the City, Board, Levy and
Vasquez.
64. By virtue of the New York State Department of Education regulations
cited above, and in particular , 8 NYCRR 80-5.13 and 8 NYCRR &0-42.3 1b}BOcvii},
plaintiffhad an expectations of continued employment with the Board for at least threc

years.

63. Plaintiff's expectation of continued employment gave rise to a
properly interest protected by the due process clause of the 14" Amendment of the

United States Constitution.

6G, Plaintiff had a property inierest protected by the duc process clause of
the 14" Amendment in the Transitional B certificate issued to him by the New York

State Department of Education.

G7, The inducements and benetits afforded io plaintiff by virtue of the
NYC Teaching Fellows program also gave rise to a property interest protected hy the

due process clause of the 14” Amendment of the United States Constitution,

68. Accordingly, the City and the Board could not legally deprive
plaintiff of those property interests without affording te plaintiff appropriate due

process.

69, Levy and the Vazquey were aware, or should have been aware, that

ihe New York State Department of Education regulations required the Board to

guarantee a threc year term of employiment to the plaintilf.
15

 
 

 

@ e
70, Levy and the Vazquez were aware, or should have been aware, that

plaintiff possessed a Transitional B certificate that would be lost if plaintiff lost his

employment by the Board.

71, Levy, Vazquez and Boyce were aware, or should have been aware,
that the NYC Teaching Fellows program provided significant cconomic and other

property benefits io plaintiff above and beyond the teacher's salary paid by ihe Board.
72, Levy and Vazquez were high ranking policy makers within the Board.

73. Despite knowing that NYC T caching Fellows such as plaintiff had
significant property interests in continucd employment by the Board, in his Transitional
B certificate, and in continued participation in the NYC T caching Fellows program, the
City, Board, Chancellor and Vazquez knowmgly, intentionally and as a maiter of
official City and Board procedure decided not to implement duc process procedures for

the safcenarding of the property intcrests of NYC Teaching l'cliows such as plaintiff,

74, By virtuc of the foregoing, the City, Board, Chancellor and Vazquez
knowingly instituted or approved unconstitutional City and Board policies and
procedures with respect to the deprivation of the aforementioned property interests of

NYC Teaching Fellows such as plaintiff.

75. Plaintiffs due process rights were violated when, as a result of the
unconstitutional policies and procedures of the City and the Board, he was terminated

without a prior hearing.

76, Plaintiff's due process rights were violated when, as a result of the

unconstitutional policies and procedures of the City and the Board, he was denied any
16

 

 
 

 

@ 6
meatingful post termination due process for the recovery of his aforcmentioned

property ttercsis.

77, By virtue of the foregoing, the City, the Board, Levy and the Vazquez

have violated plaintiff's rights under 42 U.S.C. $1983,

Fourth Claim — Violation of 42 U,8.C. $1983 by Boyce.

7B. Upon information and belief, Boyce was aware of plaintiff's property
interests in hig Transitional B certificate, his continued employment by the Board and

his continued participation in the NYC Teaching Fcllaws program,

79. Boyce was aware that plaintiff would be deprived of those property

interests in the event that his employment by the Board were terminated.

80. On January 18, 2002, Boyce, exercising authority vested in her by the
Board and acting under color of state law, terminated plaintiffs employment, based on
reasons that Boyce know were false and that Boyce knew did not warrant the

termination of plaintiff's employment,

81, In so terminating plaintiff's employment, Boyce iniended to and did
deprive plaintiff of his property interests in his Transitional B certificate, in his
continued employment by the Board and in his continued participation in the NYC

Teaching Fellows program.

82, By virtue of the foregoing, Boyce violated plaintiff's ri ghts under 42

U.S.C. $1983,

 

 
Allegations of State Law Claims Against The City, the Board and Pace

Fifth Claim — Breach of Contract by Pace

$3. Upon information and belicf, Pace offered to siudents an “allemative
teacher certification program” as defined in New York State Department of Education

regulations and certified as such by the New York State Department of Education.

84, Enrollment in au alternative teacher certification program is a

prerequisite for a Transitional B certificate,

85, Pursuant to the NYC Teaching Fellows program, plaintiff became

enrolled as a student at Pace in its alternalive teacher certification progrant.

86. The relationship between plaintiff and Pace was contractual or quasi

contracttal in nature.

87. Implicit in the contract between plaintiff and Pace was that Pace
would abide by ail New York State Department of Education regulations relating to the

alternative teacher certification program.

88. Hence, the such New York State Department of Education regulations
were incorporated into the contract between plaintiff and Pace. Allematively, such

regulations became part of an implied agrecment between plainiiff and Pace.

89. Pace knew that plaintiff was enrolling in its alternative teacher
certification program as part of the NYC Teaching Fellows program and in order to
qualify for the Transitional B certificate, eventually leading to a permanent teaching

certificate,

is

 
 

@ ©

90, The New York State Department of Education regulations
incorporated into plaintiff's contract (or implied contract) with Pace included the

following contained in 8 NY ADC 52.21 -(b\(3)(xvii)(b))GD:

{B) Prior to the candidate's employinent as a teacher, the
inslitution shall execute a written asreement with the employing school
or school district by which the school or scheol district agrecs to consult
with program faculty and the candidate before determining the teaching
load of the candidate: agrees to provide daily mentoring of the candidate
by certified school personnel during the first eight weeks of teaching;
and agrces to execute, before the end of the first oj ght weeks of teaching,
a second written agreement for continued mentoring by certified school
personnel! during the remainder of the time that ihe candidate is enrolled
in the program and teaching,

(C} The first written agreement shall indicate that all mentoring
will be provided by certified school personnel who have received
preparation for their role as mentors prior to serving as mentors, and
shall include scheduled times during the candidate's first cight weeks of
teaching for the candidate and mentor to chgage in planning,
observation, advisement, and evaluation.

(LD) The second written agreement shail include a schedule for
continued mentoring during the remainder of the time that the candidate
is enrolled in the program and teaching and shall be designed to meet the
individual learning needs of the candidate. The agreemeni shall be
signed by the principal or designee, program faculty, the mentor, and the
candidate before the end of the first elght weeks of teaching, I shall
specify times, periodically throughout cach school year, for the candidate
and mentor te engage in planning, observation, advisement, and
evaluation; and shall also specify dates for meetings of program faculty,
the school principal or degignce, the mentor, and the candidate at least
once every three months during the first year of mentored leaching and
periodically thereafter, io provide the candidate with advice for
improving teaching practices,

(E} The second writlen agreement for continued mentoring and
supervision may be modified to reflect changing learning nceds of the
candidate by agreement of and with the signatures of the principal or
designee, program facuity, the mentor, and the candidate.

19

 

 
 

@ 6

(F) Program faculty shall supervise the teaching of the candidate
and promote the linking of theory and practice by observing and advising
the candidate at least once cach month during the first year of mentored
teaching and periodically throughout the remainder of the time that the
candidate is enrolled in the program and teaching.

9]. Pace failed to live up te its obligations to plaintiff under the foregoing
provisions. Among other things, Pace failed to enter into the required written
agreements required therein and failed to provide to plaintiff the mentoring required

therein.

92, Pace’s failure to abide by its obligations under the New York State
Department of Education regulations had a material and detrimental effect on plaintiff's

performance in the NYC Teaching Fellows program and as a teacher with the Board.

95, Pace’s failure to abide by its obligations under the New Vork Statc
Department of Education regulations contributed to plaintiff's termination by the Board

and the loss of his benefits as a participant in the NYC Teaching Fellows program.

Sixth Claim — Negligence by Vace

Od, Pace owed a duty to plaintiff to abide by all New York State
Department of Education regulations applicable to the alternative teacher certification

Proeraly,

95. Pace breached ils duty to plaintiff by, among other things, failing to

enter into wrillen agreements and failure to provide mentoring as alleged above,

96, By vittue of Pace’s negligence, plaintiff has suffered damages, for

which Pace is Hable.

20

 
 

 

 

@ ®

Seventh Claim — Breach of Contract by the City and The Board

97, Plaintiff entercd into a contractual or quasi-contractual relationship
with the City and/or the Board when he enrolled and Was accepted into the NYC

Teaching Fellows program.

98. Implicit in the contract between plaintiff and the City and/or Board
was that the City and/or Board would abide by all New York State Department of

Education regulations relating to the alternative teacher certification progrann.

99, Also implicit in the contract between plaintiff and the City and/or
Board was that the City and/or Board would engage in fair dealing and good faith and
do nothing to prevent plaintiff from enjoying the bargained for bencfits of the NYC

Teaching Fellows program.

TOO. As part of the NYC Teaching Fellows program, the Cily and/or
Board agreed to handie all hecessary paperwork and logistics required for plaintiff's

Transitional B certificate.

10], As part of the foregoing, the City and/or Board undertook to
interface with Pace and the Board and to assure that Pace and the Board met their

obligations to plaintiff under the New York Slate Department of Education regulations.

102, The City and/or Board breached their agreement with plaintiff in,
among other things, failing to assure that the Board and Pace lived up to their
obligations to plaintiff under the New York State Department of Education regulations

as hereinabove alleged.
2]

 

 
 

 

@ e

103, Furthermore, to the extent that the Board was acting in 4 duai
capacity as sponsor of the NYC Teaching Fellows program and plaintiff’s empiloycr, it
breached the implied covenant of fair dealing and good faith in its NYC Teaching
Fellows program contract with plaintiff by failing to abide by its obligations under the
New York State Department of Education Teguiations and by permitting the termination

of plainiit?’s cmployment without cause or justification,

Seventh Claim — Negligence by the City and The Board

i04. The City and/or the Board owed a duiy to the plaintiff to, among
other things, cnsure thal the Board and Pace lived up to their obligations under the New

York State Department of Education regulations.

105, The City and/or the Board breached their duty to plaintiff by, among
other things, in the Board’s case, failing to abide by the New York State Depariment of
Education regulations relating to plaintiff's ‘Transitional 2 certificate and in the case of
the City and/or Board, by failing to monitor Pace to ensure that Pace abided by its

obligations to plaintiff under the New York State Departinent of Education regulations.

106. By virtue of the negligence of the City and/or Board, plaintiffhas

suffered damages, for which thcy are lable.
Eighth Claim — Breach of Third Party Beneficiary Agrecment
107. Upon information and belief, as patt of the NYC Teaching Fellaws

prograin, the City and/or the Board entered inta an agreement with Pace relating to

Pace’s performance of its role in that prograrn.

22

 

 
 

So ©

108. Plaintiff, as a participant of the NYC Teaching Fellows program,

was a third party beneficiary of that agreement.

109, The obligations of Pace under that agrcement were cssentially the

obligations alleged in the fifth and sixth claims hercinabeve.
110. Pace breached those obligations, causing plaintiff damages,
WHEREFORE, plaintiff requests the following relief:

a) a declaration that the UFT has breached its duty of fair representation to
all NYC Teaching Fellows by failing to negotiate terms and conditions of employment

with respect to them togcther with appropriate remedial injunctive relief:

b) injunctive relief reinstating plaintiff to the NYC Teaching Fellows
program and io his employment by the Board, with full back pay and other make whole

relict;

c) a judgment against the defendants, jointly and severally, awarding
contractual, compensatory and punitive damages in au amount to be determined at tial

by a jury;
dj a statutory award of reasonable attorney’s focs, costs and disbursements;

e) such other and further relief as this Court may deem just, mect and

proper under the circumstances.

23

 

 
c €

wowtk oe sok

Dated; New York, New York
April 8, 2004

MICHAEL G. O°NEILL
(MO3957)

Nn Cen

Atlorney for Plaintiff

30 Vesey Street, Third Floor
New York, New York 10007
(212) 581-0990

JURY DEMAND

Plaintiff demands trial by jury in this action.

Dated: New York, New York
April §, 2004

MICHAEL G, O*NEILL
(MQ3957)

Co

Attomey for Plaintiff

30 Vesey Street, Third lleor
New York, New York LOOO?
(212) 581-0990

 

a4

 
